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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


     FRED DEVRIES, et al., individually and on
     behalf of all others similarly situated,

                                   Plaintiffs,            Case No. 9:12-cv-81223-KAM
            v.

     MORGAN STANLEY & CO. LLC,
     f/k/a Morgan Stanley & Co. Incorporated,
     MORGAN STANLEY SMITH BARNEY LLC,
     and MORGAN STANLEY,

                                   Defendants.

     JASON ZAJONC, et al., individually and on
     behalf of all others similarly situated,, et al.,
     individually and on behalf of all others similarly
     situated,                                            Case No. 16-cv-80988-KAM

                                   Plaintiffs,
            v.

     MORGAN STANLEY & CO. LLC,
     f/k/a Morgan Stanley & Co. Incorporated,
     MORGAN STANLEY SMITH BARNEY LLC,
     and MORGAN STANLEY,

                                   Defendants.

     DARLENE JOHNSON, et al., individually and on
     behalf of all others similarly situated,

                                   Plaintiffs,            Case No. 16-cv-80975-KAM
            v.

     MORGAN STANLEY & CO. LLC,
     f/k/a Morgan Stanley & Co. Incorporated,
     MORGAN STANLEY SMITH BARNEY LLC,
     and MORGAN STANLEY,

                                   Defendants.

     SHELLEY HIX, individually and on behalf of all
     others similarly situated,
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                             Plaintiffs,        Case No. 16-cv-81024-KAM
           v.

     MORGAN STANLEY & CO. LLC,
     f/k/a Morgan Stanley & Co. Incorporated,
     MORGAN STANLEY SMITH BARNEY LLC,
     and MORGAN STANLEY,

                             Defendants.




            JOINT MOTION FOR APPROVAL OF GLOBAL SETTLEMENT
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          Plaintiffs Fred Devries, Ruby Teich, Janine Natoli, Rafael Santiago, Mark Malter, Adam
   Schwartz, Jason Zajonc, Dennis Fowler, Shelley Hix, Darlene Johnson, and Sally Kolkmeyer,
   (collectively the “Named Plaintiffs”), individually and on behalf of the groups of individuals
   who are included in the Global Settlement (collectively the “Settlement Group Members” as
   more fully defined below), and Morgan Stanley & Co. LLC, Morgan Stanley Smith Barney LLC
   (“Morgan Stanley”), and Morgan Stanley (collectively the “Defendants”; and together with the
   Named Plaintiffs, collectively the “Parties”) file this Joint Motion for Approval of Global
   Settlement and respectfully request that the Court approve the Parties’ Joint Stipulation of
   Settlement and Release (the “Agreement”)1 and enter the attached proposed Order and Judgment,
   which globally resolves the four captioned cases and dismisses these actions with prejudice.
                                         INTRODUCTION
          In addition to the claims filed by the Named Plaintiffs on behalf of themselves and other
   similarly situated employees, the Agreement resolves claims of the Devries and Zajonc
   Settlement Group Members and the Johnson and Hix Settlement Group Members. As set forth
   in greater detail below, the Agreement encompasses the claims of 458 individuals (the Named
   Plaintiffs in each of the four actions and those that have previously opted into Devries, Johnson
   and Hix and who have not withdrawn or been dismissed (“Opt-In Plaintiffs”). The Parties have
   agreed, subject to Court approval, to resolve these four wage and hour actions for monetary
   relief, as more fully set forth below and in the Agreement. The proposed settlement satisfies the
   criteria for approval of a Fair Labor Standards Act (“FLSA”) collective action settlement
   because it was reached after significant information exchange and contested litigation in four
   venues, and was the result of arm’s length settlement negotiations conducted by experienced
   counsel well-versed in wage and hour law. Accordingly, the Parties request that the Court: (1)
   approve as fair, adequate and reasonable the global settlement set forth in the Agreement
   attached as Exhibit A hereto; (2) approve the proposed Settlement Cover Letters, Notice, and
   agreement and release for Enhancement Award Plaintiffs attached as Exhibits D, E, F and G to
   the Agreement and the proposed method for distribution; (3) approve Plaintiffs’ Counsel’s
   request for attorneys’ fees of $3,707,970.34 and costs in the amount of $461,029.66; (4) approve
   payment of $26,000.00 to the Settlement Claims Administrator; (5) approve payment of a total of

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         All capitalized terms used herein shall have the same meaning as defined in the
   Agreement.
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   $98,000.00 in Enhancement Awards to the eleven Named Plaintiffs and additional thirty-five
   Enhancement Award Plaintiffs as more fully set forth in the Agreement; (6) allocate $5,000.00 of
   the Maximum Settlement Amount to the settlement of claims under the California Private
   Attorney’s General Act of 2004 (“PAGA”) as more fully set forth in the Agreement; (7) allocate
   $50,000.00 to a reserve fund; (8) dismiss the Devries, Zajonc, Johnson and Hix Lawsuits with
   Prejudice, with the Court retaining jurisdiction to enforce the settlement; (9) permanently enjoin
   the Named Plaintiffs, Enhancement Award Plaintiffs, and other Participating Members (those
   who negotiate their checks) from pursuing and/or seeking to pursue claims that have been
   released by the Agreement; and (10) enter the Order and Judgment submitted herewith.
                        FACTUAL AND PROCEDURAL BACKGROUND
   I.     Overview of Parties Involved
          This lawsuit was filed on August 8, 2012, in the U.S. District Court for the Southern
   District of New York and transferred to the U.S. District Court for the Southern District of
   Florida on October 26, 2012. The Third Amended Collective and Class Action Complaint
   asserts collective claims under the Fair Labor Standards Act (“FLSA”), and class claims under
   Illinois, New Jersey, New York, and Pennsylvania law, on behalf of pre-production Financial
   Advisor Associate trainees (“FAAs”) and seeks recovery of, among other things, overtime
   wages, liquidated damages, attorneys’ fees, and costs. Conditional Certification of an FLSA
   collective was granted by Order dated February 7, 2014 (D.E. 93) and the case includes six
   Named Plaintiffs and 439 Opt-In Plaintiffs.2
          Zajonc, et al. v. Morgan Stanley & Co., LLC, et al., was filed on December 19, 2014 in
   the United States District Court for the Northern District of California, asserts class claims on
   behalf of California FAAs under California law, and seeks recovery of, among other things,
   overtime wages, compensation for missed meal and rest breaks, inaccurate wage statements,


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           On August 11, 2015, Plaintiffs in Devries moved for final certification of the collective
   and for class certification of a class consisting of FAAs who worked in Illinois, New York, New
   Jersey, and Pennsylvania and Defendants moved to decertify the collective. D.E. 363, 388 and
   390. On August 11, 2015, Defendants filed a motion for summary judgment against Plaintiff
   Adam Schwartz, and on September 8, 2015, Defendants filed a motion for summary judgment
   against Opt-In Trevor Campbell. D.E. 361 and 417. Additionally, on September 18, 2015,
   Plaintiffs filed a motion for partial summary judgment. D.E. 436. These motions were fully
   briefed and pending at the time the Parties advised the Court that they were negotiating a
   settlement of the action.
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   penalties, liquidated damages, attorneys’ fees, and costs (“Zajonc”). Zajonc was filed by Jason
   Zajonc, who was also an opt-in in Devries; Dennis Fowler later joined the action as a Named
   Plaintiff. The Zajonc Plaintiffs had not yet moved for class certification at the time the Parties
   began settlement negotiations. Pursuant to the agreement of the Parties as set forth in the
   Agreement, Zajonc was transferred to this Court for purposes of seeking settlement approval by
   Order dated June 13, 2016.
          The Named Plaintiffs in Devries and Zajonc, all persons who have previously opted into
   Devries and who have not withdrawn or been dismissed as of April 11, 2016, including Agnes
   Aponte and Sara Motiey (who had moved to withdraw), and the declarants listed in Exhibit A to
   the Agreement are collectively referred to as the “Devries and Zajonc Settlement Group
   Members.”
          Johnson, et al. v. Morgan Stanley & Co. LLC, et al., was filed on June 24, 2015 in the
   United States District Court for the Southern District of New York, asserts collective claims on
   behalf of Morgan Stanley Client Service Associates (“CSAs”) under the FLSA, and seeks
   recovery of, among other things, overtime wages, liquidated damages, attorneys’ fees, and costs
   (“Johnson”). Johnson includes two Named Plaintiffs and nine Opt-Ins. The Johnson Plaintiffs
   had not yet moved for collective certification at the time the Parties began settlement
   negotiations. While the Johnson Plaintiffs did file a collective certification motion, the settlement
   was reached before Defendants’ response was due. Pursuant to the agreement of the Parties as
   set forth in the Agreement, Johnson was transferred to this Court for purposes of seeking
   settlement approval by Order dated June 13, 2016.
          Hix v. Morgan Stanley & Co., LLC, et al., which was filed on January 13, 2015, in the
   U.S. District Court for the Southern District of New York and subsequently transferred to the
   District of Maryland, asserts collective claims on behalf of Morgan Stanley Service Associates
   (“SAs”) under the FLSA, and seeks recovery of, among other things, overtime wages, liquidated
   damages, attorneys’ fees, and costs (“Hix”). Hix includes one Named Plaintiff and one Opt-In.
   The Hix Plaintiffs had not yet moved for collective certification at the time the Parties began
   settlement negotiations. Pursuant to the agreement of the Parties as set forth in the Agreement,
   Hix was transferred to this Court for purposes of seeking settlement approval by Order dated
   June 14, 2016.



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          The Named Plaintiffs in Johnson and Hix and all persons who have previously opted into
   Johnson or Hix and who have not withdrawn or been dismissed as of April 11, 2016 are
   collectively referred to as the “Johnson and Hix Settlement Group Members.” The “Devries and
   Zajonc Settlement Group Members” and the “Johnson and Hix Settlement Group Members”
   together are referred to as the “Settlement Group Members.” There are a total of 458 Settlement
   Group Members, including the Named Plaintiffs.
   II.    Overview of Claims and Investigation
          A. Devries and Zajonc
          While the two cases are at different procedural stages, Plaintiffs’ factual allegations in
   Devries and Zajonc are virtually identical. The claims resolved by the Agreement relate to off-
   the-clock hours allegedly worked by the Devries and Zajonc Settlement Class Members for
   which they contend they were not properly compensated. Newly hired FAAs participate in an
   approximately 16 to 20 week pre-production training period, during which they are classified as
   non-exempt. Plaintiffs allege that FAAs’ duties include the completion of the required FAA
   Training Program course work, studying for and passing the Series 7 exam, studying for and
   passing the Series 66 exam, studying for and passing the FAA Pre-Production Assessment
   exams, attending meetings, completing all FAA Training Program curriculum requirements and
   attending national performance sessions. The Devries and Zajonc Settlement Class Members
   contend that they regularly worked significantly more than 40 hours in a workweek for Morgan
   Stanley’s benefit during the pre-production training period, including study time which they
   likewise contend is compensable work, without being paid overtime for hours worked in excess
   of 40 per workweek.
          Since Devries was first filed almost four years ago, the FAAs’ claims have been
   extensively litigated, including a motion to transfer the case from New York to Florida, eleven
   discovery motions, a successful motion for conditional certification of the collective, three
   pending motions for summary judgment (including on the issue of whether study time is
   compensable), pending motions for final certification and decertification of the collective, and a
   pending motion for certification of four Rule 23 state classes. In addition, the Parties engaged in
   extensive discovery, including written interrogatories and requests for production served on
   thirty-eight Named Plaintiffs, class representatives, and opt-ins all of whom sat for deposition, as
   well as multiple sets of written discovery served on the Defendants and additional opt-ins, and

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   the taking of many more fact depositions of additional fact witnesses, experts and corporate
   representatives across the country. The Parties also exchanged over 85,000 pages of documents,
   including voluminous ESI.
          In Zajonc, the Parties briefed and argued a motion to dismiss, stay, or transfer, exchanged
   written discovery and documents, conferred extensively on multiple discovery disputes and filed
   motions to compel, extensively researched numerous issues, exchanged and analyzed data,
   including a significant amount of ESI, took three depositions, interviewed additional class
   members, and Plaintiffs began gathering declarations and drafting a class certification motion.
   In addition, much of the discovery taken in Devries benefitted the Zajonc case pursuant to an
   agreement to share discovery between those cases.
          As a result of the extensive discovery undertaken in both cases, the Parties have been able
   to evaluate potential liability and damages and to determine the approximate value of each
   Devries and Zajonc Settlement Group Member’s claim.
          B. Johnson and Hix
          The claims of the Johnson and Hix Settlement Group Members are likewise similar.
   Both CSAs and SAs are non-exempt office employees who contend that they regularly worked
   more than 40 hours in a workweek for Morgan Stanley’s benefit without being paid overtime for
   hours worked in excess of 40 per workweek. Johnson was filed on the heels of the settlement of
   a virtually identical case involving CSAs, Amador, et al. v. Morgan Stanley & Co., LLC, et al, 11
   CV 4326 (S.D.N.Y.). The Amador case resolved with an Order granting final approval of
   settlement entered on December 22, 2014, after more than three years of heavily contested
   litigation, including payment to more than 1500 named plaintiffs, participating New York class
   members, and opt-ins. See S.D.N.Y. Case No. 11-cv-4326 (RJS) at ECF 188.3
          In addition to the extensive knowledge gained by counsel from the Amador litigation, in
   Johnson, the Parties exchanged written discovery and documents, four depositions were taken
   and the Parties briefed and argued numerous discovery issues and Plaintiffs gathered and
   produced additional records from third parties. Plaintiffs also interviewed additional collective
   members, obtained declarations, and filed a Motion for Conditional Certification and Court-
   Authorized Notice Pursuant to 29 U.S.C. § 216(b). The court expressed some reluctance to

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         CSAs and SAs reported working considerably less overtime than FAAs and not in every
   workweek.
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   certify another collective action with the same members as in Amador.            August 14, 2015
   Hearing Transcript at 9. While that motion was pending, Plaintiffs also opposed Defendants’
   attempt to file summary judgment motions against the named Plaintiffs during the conditional
   certification phase of the case.
          Similarly, in Hix both Parties served and responded to written discovery requests,
   produced and reviewed documents and served motions to compel. The Parties were preparing
   for depositions and Plaintiffs were drafting their motion for conditional certification and
   supporting declarations at the time the case settled.
          As a result of the extensive discovery undertaken in both cases, as well as Amador, the
   Parties have been able to evaluate potential liability and damages and to determine the
   approximate value of each Johnson and Hix Class Member’s claim.
   III.   History of Settlement Negotiations
          The Parties have engaged in two full day private mediations of the claims asserted in
   Devries and Zajonc with experienced FLSA mediators, first with Michael Dickstein in December
   2014, and then with David Rotman in September 2015, both of whom have particular expertise
   mediating FLSA collective actions. Although the Parties were unable to settle at either of these
   mediations, they continued discussing settlement options while the litigations continued. The
   Parties began negotiating toward a global resolution of all four cases in the fall of 2015 and on
   January 25, 2016, after making significant progress towards establishing a settlement framework
   that would include all Settlement Group Members and attorneys’ fees and costs, they filed their
   Joint Motion to Stay the Proceedings [D.E. 499] and filed several additional motions to extend
   that stay [D.E. 501, 503] while they negotiated regarding the details and calculation of the
   specific settlement amounts for each settlement group and a separate amount for attorney’s fees
   and costs, as well as the best mechanism to achieve a full and final settlement for all four of the
   pending litigations and eventually signed a Memorandum of Understanding on March 8, 2016
   setting forth the basic framework of the settlement agreed to by the Parties.     The Parties then
   advised the Court that the case had been settled [D.E. 505] and negotiated for several more
   months [D.E. 509, 511, and 513] until they finalized the terms of a more detailed Agreement
   which was not fully executed until June 29, 2016. See Exhibit A. Zajonc, Johnson and Hix also
   were stayed until they ultimately were transferred to this Court to be settled along with Devries.



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                            SUMMARY OF THE SETTLEMENT TERMS
   I.     The Maximum Settlement Amount
          The Parties have agreed that the Maximum Settlement Amount will be $5,995,000.00
   (the “Maximum Settlement Amount”), which shall include all claims in the Litigations, all
   attorneys’ fees, litigation costs, Settlement Administration Expenses, payments to Settlement
   Group Members, PAGA payments, all payroll taxes and all other applicable taxes (with the sole
   exception and exclusion of the employer’s share of payroll taxes which shall be paid separately
   by Defendants), interest, a Reserve Fund, and Enhancement Awards. See Exhibit A at 3.1(A).
   II.    Eligible Class Members
          “Devries and Zajonc Settlement Group Members” shall mean the Named Plaintiffs in
   Devries and Zajonc, all persons who have previously opted into Devries and who have not
   withdrawn or been dismissed as of April 11, 2016, including Agnes Aponte and Sara Motiey,
   and the declarants listed in Exhibit A to the Agreement. See Exhibit A at 1.7.
          “Johnson and Hix Settlement Group Members” shall mean the Named Plaintiffs in
   Johnson and Hix and all persons who have previously opted into Johnson or Hix and who have
   not withdrawn or been dismissed as of April 11, 2016. Id. at 1.14.
   III.   Settlement Group Allocation Formula
          Each Settlement Group Member’s estimated share of the Net Settlement Fund will be
   determined by the Settlement Claims Administrator pursuant to the formula set forth in section
   3.7 of the Agreement attached as Exhibit A.
          The Net Settlement Fund shall be the amount of money remaining from the Maximum
   Settlement Fund after deducting (a) the amount requested for attorneys’ fees and costs and
   Settlement Administrator Expenses; (b) amounts for Enhancement Awards approved by the
   Court; (c) amounts for the Reserve Fund; and (d) amounts for PAGA payments pursuant to
   Section 3.6. See Exhibit A at 3.7, which amount shall be redistributed to the California members
   of the Devires and Zajonc Settlement Group.
          The Net Settlement Fund shall be allocated first to the Johnson and Hix Settlement Group
   Members each of whom will have his or her individual Applicable Workweeks multiplied by the
   same per workweek amount paid to CSAs in settlement of the Amador case and previously
   approved by the court there, and that amount shall be each Johnson and Hix Settlement Group
   Member’s Individual Settlement Amount.

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          After the payments are allocated to the Johnson and Hix Settlement Group Members, the
   “Balance Net Settlement Fund” will be divided by the aggregate number of Applicable
   Workweeks accrued by all of the Devries and Zajonc Settlement Group Members (“Initial
   Workweek Value”). Each Devries and Zajonc Settlement Group Member’s total Applicable
   Workweeks will be multiplied by the Initial Workweek Value to determine his or her “Initial
   Settlement Amount.” Notwithstanding the above, any Devries and Zajonc Settlement Group
   Member with an Initial Settlement Amount of less than $200.00 will be allocated $200.00 (the
   “Minimum Individual Settlement Amount”) as their Individual Settlement Amount.                After
   determining Devries and Zajonc Settlement Group Members who will be allocated the Minimum
   Individual Settlement Amount, the workweek value shall be recalculated for all other Devries
   and Zajonc Settlement Group Members as follows: the balance of the Net Settlement Fund after
   deducting amounts allocated to those Devries and Zajonc Settlement Group Members receiving
   the Minimum Individual Settlement Amount, will be divided by the Applicable Workweeks for
   the Devries and Zajonc Settlement Group Members who do not receive the Minimum Individual
   Settlement Amount to determine the “Final Workweek Value”. The Applicable Workweeks for
   each Devries and Zajonc Settlement Group Member who is not a Minimum Amount Settlement
   Group Member will be multiplied by the Final Workweek Value to determine his or her
   Individual Settlement Amount. Id.
          In addition, each Devries and Zajonc Settlement Group Member who worked for
   Defendants in California, will receive a pro rata share of $1,250.00, the amount allocated to them
   to settle their PAGA claims, based on their pro-rata workweeks pursuant to Section 3.6. Id.
          The calculation of Applicable Workweeks pursuant to the Agreement shall be based on
   Defendants’ business records, subject to the dispute resolution process set forth in the
   Agreement.
          To put this in perspective, each Devries and Zajonc Settlement Group Member’s share
   will equate to an additional 6.10 hours per week for each week worked as a pre-production FAA
   at time and one half their average hourly rate for the four year statute of limitations if they
   worked in California, for the six year status of limitations if they worked in New York and for
   the three year statute of limitations if they worked anywhere else.




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   IV.    Releases
          Settlement Group Members who participate in the settlement by negotiating their
   Settlement check (“Participating Settlement Group Members”) will release wage and hour claims
   of any type, including all state law and FLSA claims and penalties (including civil and statutory
   penalties, including penalties under PAGA), liquidated damages, punitive damages, interest,
   attorneys’ fees, litigation costs, equitable relief, or additional damages that allegedly arise from
   any wage and hour claims under any applicable law through thirty days after entry of the Final
   Order and Judgment. Settlement Group Members who do not participate will not release any
   claims. The Named Plaintiffs and Enhancement Award Plaintiffs will release as a part of the
   settlement all claims of any type against Defendants through the date that the applicable Named
   Plaintiff executes the Agreement or the Enhancement Award Plaintiff executes the agreement
   and release for Enhancement Award Plaintiffs. The Agreement also contains a “Limited Carve
   Out” For Participating Members from the Devries and Zajonc Settlement Group for claims that
   were pending as of March 8, 2016, by or on behalf of any member of the Devries and Zajonc
   Settlement Group, including but not limited to claims pending in In re: Morgan Stanley Smith
   Barney LLC Wage and Hour Litigation, Case No. 2:11-cv-03121 (D.N.J.). Exhibit A at 3.9.
   V.     Enhancement Awards
         The Agreement provides Plaintiffs will seek Enhancement Awards for the 11 Named
   Plaintiffs and 35 additional Enhancement Award Plaintiffs in recognition of the assistance they
   provided in obtaining the overall settlement for the Settlement Group Members.                  The
   Enhancement Award Plaintiffs provided substantial assistance to Plaintiffs’ counsel, including
   extensive meetings, conferences, review of documents, responding to written discovery and
   sitting for deposition. In addition, the Named Plaintiffs lent their names to the litigations. The
   Agreement provides for Enhancement Awards from the Settlement Fund for the Named
   Plaintiffs and Enhancement Award Plaintiffs in the amounts as follows: $10,000.00 to Fred
   Devries, $8,000.00 to Ruby Teich, $5,000.00 each to Dennis Fowler, Shelley Hix, Darlene
   Johnson, Sally Kolkmeyer, Mark Malter, Janine Natoli, Rafael Santiago, Adam Schwartz, and
   Jason Zajonc, and $1,000.00 each to the 35 Enhancement Award Plaintiffs listed in Exhibit B to
   the Agreement, all of whom were deposed in one of the actions being settled. Agreement at 3.3.




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   VI.      Attorneys’ Fees and Litigation Costs and Expenses and Settlement Claims
            Administration.

            Under the terms of the Parties’ Agreement, subject to Court approval, the Parties agree
   that Plaintiffs’ counsel will seek an award of attorneys’ fees, reimbursement of reasonable
   litigation costs and expenses, and Settlement Administration Expenses, from the Settlement
   Fund, which shall not exceed $4,195,000.00 as compensation for their work in all four of the
   litigations over the last four years and the additional work to be performed in connection with the
   administration of the settlement. Exhibit A at 3.2(A). Of that sum, $26,000.00 is to be paid to
   Rust Consulting for its services as Settlement Claims Administrator, $326,878.21 is
   reimbursement of costs incurred in Devries, $81,532.71 is reimbursement of costs incurred in
   Zajonc, $32,755.93 is reimbursement of costs incurred in Johnson, and $19,862.81 is
   reimbursement of costs incurred in Hix, leaving a balance for attorneys’ fees of $3,707,970.34
   Plaintiffs’ counsel have incurred fees of $3,667,505.50 in Devries, $1,180,667.00 in Zajonc,
   $398,578.00 in Johnson, and $196,637.00 in Hix, for a collective lodestar of $5,443,387.50.
   Thus, the requested fee of $3,707,970.34 for their work in all four cases is significantly less than
   the actual fees incurred and represents a negative multiplier of .68. Plaintiffs’ counsel are
   seeking this fee award in lieu of attorney’s fees that Plaintiffs’ counsel might otherwise have
   been entitled to recover under 29 U.S.C. Section 16(b) had they ultimately prevailed in the
   Lawsuits.
   VII.     Reserve Fund and Cy Pres
            Fifty Thousand Dollars ($50,000.00) of the Maximum Settlement Fund shall be held by
   the Settlement Administrator to be used as a Reserve Fund which can be used to address any
   Settlement Group Member disputes and the claims of any individuals with a good-faith claim
   that they should have been but were not included as a Settlement Group Member. See Exhibit A
   at 3.5
   VIII. LWDA Private Attorney General Act Payment.
            Five Thousand Dollars ($5,000.00) of the Maximum Settlement Amount shall be
   allocated as settlement of claims under PAGA. Seventy-five percent (75%) of that total or,
   $3,750.00, shall be paid to the LWDA pursuant to the provisions of PAGA. The remaining
   twenty-five percent (25%), or $1,250.00, shall be distributed to the Devries and Zajonc



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   Settlement Group Members who worked for Defendants in California anytime from August 7,
   2014 through the date of the Order and Judgment. See Exhibit A at 3.6.
                                              ARGUMENT
   I.       Standards for FLSA Settlements
            Under prevailing Eleventh Circuit case law, the parties to an FLSA action can resolve the
   dispute and enter into a valid waiver of the employee’s FLSA claims in either of two ways.
   First, an employee may settle and waive claims under the FLSA if the payment of unpaid wages
   by the employer to the employee is supervised by the Secretary of Labor. 29 U.S.C. § 216(c);
   Lynn’s Food Stores, Inc., v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). Second, an
   employee may settle and waive claims under the FLSA if the parties present a proposed
   settlement to a district court which approves the fairness of the settlement. Lynn’s Food Stores,
   679 F.2d at 1353. In discussing the approval of FLSA settlements, the Eleventh Circuit has
   noted:
            Settlements may be permissible in the context of a suit brought by employees
            under the FLSA for back wages because initiation of the action by the employees
            provides some assurance of an adversarial context. The employees are likely to
            be represented by an attorney who can protect their rights under the statute. Thus,
            when the parties submit a settlement to the court for approval, the settlement is
            more likely to reflect a reasonable compromise of disputed issues than a mere
            waiver of statutory rights brought by an employer’s overreaching. If a settlement
            in an employee FLSA suit does reflect a reasonable compromise over issues, such
            as FLSA coverage or computation of back wages that are actually in dispute, we
            allow the district court to approve the settlement in order to promote the policy of
            encouraging settlement of litigation.

   Id. at 1354.
            “The Court should be mindful of the strong presumption in favor of finding a settlement
   is fair.” Ford v. Property Preservation Experts, Inc., 2012 U.S. Dist. Lexis 107194 at *3 (M.D.
   Fla. July 31, 2012) (citing Cotton v. Hinton, 559 F. 2d 1326, 1331 (5th Cir. 1977)). An FLSA
   settlement may be approved as fair even where plaintiffs receive in settlement substantially less
   than the amount they originally claimed. Rutland v. Visiting Nurse Assoc. of Central Fla., Inc.,
   2008 U.S. Dist. Lexis 61776 (M.D. Fla. July 29, 2008). Discovery – including the production of
   records – as well as the risks associated with litigation and the viability of certain defenses, all
   may cause a plaintiff to settle for substantially less than the original amount claimed. See id.
   (approving FLSA settlement where named plaintiff settled for approximately 6% of the wages

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   she originally claimed). In addition, the dispute over liquidated damages and the applicable
   statute of limitations may cause an FLSA plaintiff to accept substantially less in settlement then
   originally claimed. See Ford, supra (approving FLSA settlement where one opt-in plaintiff
   settled for less than 3% of his original claimed back wages).
   II.    The Back Wages Payment Is Fair and Reasonable
          Here, Plaintiffs believe the settlement is fair because it is a reasonable compromise of the
   claims of the Settlement Group Members. As discussed above, the settlement encompasses all
   weeks worked by the Settlement Group Members within their applicable statutes of limitations.
   Although the FLSA typically provides for a two year statute of limitations, the Parties here
   utilized a full three year statute of limitations period and for those Settlement Group Members
   who worked in New York or California the maximum six and four year state statutes of
   limitations.
          On average, each Participating Devries and Zajonc Settlement Class Member will receive
   payment equivalent to more than 6.23 hours per week paid at time and one half their regular
   hourly rate. Plaintiffs believe that this amount represents a very fair settlement given the amount
   of unpaid overtime that was claimed, the uncertainty of success on collective certification, and
   Defendants’ defenses on the merits, including its contention that that it provided paid time during
   the workweek for studying during training weeks and that it took steps to prevent its employees
   from studying off the clock.4

   4
           In moving to decertify the collective action, and challenging Plaintiffs’ motions for final
   FLSA certification and class certification, Defendants argued that this case requires
   individualized inquiries on numerous issues, including whether each trainee actually worked,
   needed to work, recorded, requested permission for, and was paid for overtime; what each
   trainee was told about time recording and overtime at the branch level and by whom; whether
   each branch manager approved the overtime, and knew or should have known about any unpaid
   overtime; whether the particular activities undertaken after hours were compensable; whether
   Defendants have any additional defenses to an individual trainee’s claim; and numerous damages
   issues (such as the precise damages amounts, the extent to which the alleged overtime work each
   trainee did was for Defendants’ benefit as opposed to their own, and issues of willfulness and
   good faith for each of the 433 Plaintiffs and Opt-Ins in the collective). See D.E. 388, 423, 426,
   452. Moreover, in moving for summary judgment against Plaintiff Adam Schwartz, Defendants
   noted that at least two Circuit Courts of Appeals and a District Court have held that under the
   FLSA, as amended by the Portal-to-Portal Act, training is not compensable if it is a precondition
   for the job that the employer allows to be satisfied while the employee is working on a
   probationary basis, and Defendants also argued that Schwartz’s alleged overtime was not
   compensable under the DOL’s training time regulations because Morgan Stanley satisfied all the
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          Each Participating Johnson and Hix Settlement Class Member will also receive payment
   equivalent to that approved by Judge Sullivan in the Amador case.
          Each of the Settlement Group Members, other than the Named Plaintiffs (who have each
   signed the Agreement) and the Enhancement Award Plaintiffs (who will each have signed an
   agreement and release for Enhancement Award Plaintiffs), will receive notice of the terms of the
   settlement, in substantially the form attached as Exhibit G to the Agreement, and will be able to
   choose whether or not to knowingly accept the consideration provided for in the Agreement in
   return for their release of wage and hour related claims.
          Given these factors, the amount paid to each Settlement Group Member and the formula
   according to which each Settlement Group Member will receive their share, the Agreement
   represents a fair and reasonable compromise of the claims in the four actions covered by the
   Agreement.
   III.   The Proposed Notice and Settlement Cover Letters Should Be Approved
          The Court should also approve the proposed Settlement Cover Letters and Settlement
   Notice, copies of which are attached as Exhibits D, E and G, respectively. The proposed
   Settlement Notice sufficiently inform each Settlement Group Member of the terms of the
   settlement, including the amount they will receive individually, the scope of the release, and the
   attorneys’ fees and costs that were approved. The Cover Letters to accompany the checks mailed
   to the Named Plaintiffs is perfunctory as each will already be fully familiar with the terms of the
   Settlement having signed the Agreement. The Cover Letters to the Enhancement Award
   Plaintiffs is also perfunctory as each Enhancement Award Plaintiff will previously have been
   advised by Plaintiffs’ counsel of the terms of the Agreement and as well as the terms of the terms
   of the agreement and release for Enhancement Award Plaintiffs which they can voluntarily elect
   to sign in order to receive an Enhancement Award.




   requirements of those regulations. See D.E. 361. And in moving for summary judgment against
   Opt-In Trevor Campbell, Defendants argued that Campbell’s overtime claims fail because he
   cannot meet his burden of proving that his employer knew or should have known of his alleged
   overtime, and because he cannot offer sufficient proof of the amount and extent of his alleged
   unpaid overtime. See D.E. 417. Thus, while Plaintiffs disagree with and contested all of these
   arguments, there was significant risk present which Plaintiffs concluded supported settlement on
   these terms. See D.E. 432, 445, 451, and 469.
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   IV.    The Enhancement Awards Should Be Approved
          The Settlement provides for Enhancement Awards to 11 Named Plaintiffs and 35
   Enhancement Award Plaintiffs in recognition of the assistance they provided in obtaining the
   overall settlement for the Settlement Group Members.            Plaintiffs believe that the Named
   Plaintiffs and Enhancement Award Plaintiffs will be adequately compensated by the
   Enhancement Awards for their diligence, commitment and investment -- in terms of time, money
   and “sweat equity.” Mr. Devries and Ms. Teich first identified the claims asserted on behalf of
   the Devries and Zajonc Settlement Group Members and provided substantial assistance to
   Plaintiffs’ counsel, including extensive meetings and conferences and review of documents. The
   other Named Plaintiffs lent their names to the four lawsuits.
          In addition to their roles in their respective lawsuits, each of the Named Plaintiffs and
   Enhancement Award Plaintiffs participated in innumerable conferences, regularly communicated
   with their attorneys, provided valuable information, reviewed documents, responded to written
   interrogatories and document requests, and sat for depositions. In addition, they were very
   helpful to their counsel in analyzing and interpreting all the documents, data and information that
   Defendants produced during the litigations.
          Given the time and effort expended by these Named Plaintiff s and Enhancement Award
   Plaintiffs, Enhancement Awards are warranted in this action, as has been held by numerous
   federal courts in Florida. See, e.g., Mosser v. TD Bank, N.A. (In re Checking Account Overdraft
   Litig., MDL No. 2036), 2013 U.S. Dist. LEXIS 187627, *91 (S.D. Fla. Mar. 18, 2013) (granting
   incentive award to named plaintiffs in Rule 23 class for the actions they took to protect the
   claimants, the degree to which others benefited, and the amount of time and effort the plaintiffs
   expended); Torres v. Bank of Am.(In re Checking Account), 830 F. Supp. 2d 1330, 1357 (S.D.
   Fla. 2011) (“[t]here is ample precedent for awarding incentive compensation[.] (citing Allapattah
   Services, Inc. v. Exxon Corp., 454 F. Supp. 2d 1185, 1218 (S.D. Fla. 2006)); David v. Am. Suzuki
   Motor Corp., 2010 U.S. Dist. LEXIS 146073, *19-20 (S.D. Fla. Apr. 15, 2010) (granting
   incentive award in Rule 23 class action were plaintiff “participated actively in the ligation from
   start to finish[.]”); see also, Hosier v. Mattress Firm, Inc., 2012 U.S. Dist. Lexis 94958 (M.D.
   Fla. June 8, 2012) (FLSA action); Su v. Electronic Arts, Inc., 2006 U.S. Dist. Lexis 98894 (M.D.
   Fla. Aug. 29, 2006) (FLSA action); Signorelli, et al. v. UtiliQuest, 2008 U.S. Dist. Lexis 109357
   (M.D. Fla. July 25, 2008) (hybrid FLSA/Rule 23 action). Enhancement Awards to compensate

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   named and opt-in plaintiffs for their diligence, fortitude and involvement are routinely approved
   in FLSA collective actions. See Hosier, Su, Signorelli, supra; see also, Shores v. Publix Super
   Markets, Inc., Case No.: 95-1162-CIV-T-25E, D.E. 319, at 90-91 (M.D. Fla. May 23, 1997)
   (named plaintiffs provided additional compensation for signing a full release of claims, for time
   spent in depositions, for risk of litigation, and for expending substantial time and effort);
   Palacios v. E*Trade Financial Corp., Case No.: 10-4030, D.E 79 (S.D.N.Y. June 22, 2010)
   (approving $6,500 Enhancement Awards to each named plaintiff); Nash v. CVS Caremark Corp.,
   Case No.: 09-079, Dkt. 137 (D.R.I. Apr. 12, 2012) (approving $5,000 incentive payments for
   FLSA named plaintiffs); Caissie v. BJ’s Wholesale Club, Case No.: 08-30220-MAP (D. Mass.
   June 24, 2010) ($10,000 incentive awards approved in connection with settlement of FLSA/state
   law wage and hour class and collective action).
   V.     The Attorneys’ Fees and Costs Are Reasonable and Should Be Approved
          Additionally, the Parties have agreed that Plaintiffs’ counsel will receive $4,195,000.00
   of the Maximum Settlement Amount as attorneys’ fees and costs and settlement administration
   expenses, as indicated in Exhibit A. Pursuant to the Agreement, any attorneys’ fees or expenses
   not awarded by the Court will revert to Defendants. Thus, the Court’s award of attorneys’ fees
   and costs will not reduce, diminish or otherwise compromise the back-wages and other payments
   to the Settlement Group Members. Rather, the attorneys’ fees and costs are above and beyond
   the amount to be paid to the Settlement Group Members, such that their recoveries are not
   reduced due to the fees and costs incurred on their behalf.
          Of the total award sought of $4,195,000.00 for fees and costs and settlement
   administration expenses, $461,029.66 represents actual costs and expenses incurred by Plaintiffs’
   counsel, including court fees, service of process, arbitration fees, deposition transcript and video
   fees, photocopying, postage/express mail, telephone, Pacer/Lexis research, and mediation costs.
   The expenses incurred in the prosecution of this case are reflected on the books and records of
   Plaintiffs’ counsel, which are available for submission to the Court upon request. These books
   and records are prepared from expense vouchers, receipts, and check records; are accurate
   regarding all the expenses incurred; and constitute hard, out-of-pocket monetary expenses from
   the beginning of the case. Plaintiffs’ counsel was aware such costs and expenses might not be
   recovered and, at the very least, would not be recovered until the litigation was successfully
   resolved.

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          Of the total award sought of $4,195,000.00 for fees and costs and settlement
   administration expenses, $26,000.00 represents actual costs and expenses incurred by Plaintiffs’
   counsel to be paid to the Settlement Claims Administrator for formatting, printing and mailing
   the notice packets; calculating individual settlement amounts and distributing checks;
   determining and remitting tax withholdings; communicating with counsel for the Parties and
   Settlement Group Members; and performing other activities and services associated with the
   administration of the settlement.    This amount is the cap proposed by Rust Consulting in
   connection with their bid to be retained as Claims Administrator. Rust was the low bidder.
          The balance of $3,707,970.34 represents an award of attorneys’ fees for the work
   performed by Plaintiffs’ counsel. The total lodestar to date for the work performed by all four
   firms representing the Settlement Group Members in the four litigations is $5,443,387.50. This
   reflects the time actually spent, in the exercise of reasonable judgment by the lawyers and staff
   involved and is reflected in the detailed time records for each of the firms. The work undertaken
   represents the work addressed above in connection with the investigation and filing of the
   lawsuit and related arbitrations, the work undertaken in conjunction with the discovery of the
   case and the work involved in negotiating and effectuating the Settlement. Each of the firms
   involved in the case had expertise and knowledge with respect to aspects of the litigation,
   including extensive and successful records in class action and wage hour litigation. The firms
   also communicated regularly so as to ensure that there was not unnecessary time incurred, nor
   duplication of effort.
          Plaintiffs’ counsel’s request for payment of fees in the amount of $3,707,970.34
   represents a negative multiplier of .68. Given the risks presented by the multiple litigations and
   the results obtained, this multiplier is decidedly reasonable. Based on our experience, we also
   expect that there will be significant time spent by Plaintiffs’ counsel in the future administering
   the claims process and this settlement, resolving issues with the Settlement Claims Administrator
   and Defendants’ counsel, and speaking with Settlement Group Members about the administration
   and the Settlement, bringing the multiplier even further below one. Although the attorneys’ fees
   and costs appear high in comparison to the overall recovery, as discussed above, the dollar value
   of each claim is relatively low because the settlement of the Devries and Zajonc claims involves
   only a limited number of training weeks. More importantly, the attorneys’ fees cover the filing



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   and prosecution of four separate lawsuits. Defendants do not oppose the amount to be allocated
   as attorneys’ fees and costs as set forth in the Parties’ Agreement.
          The settlement of attorneys’ fees and costs was independent and agreed upon separately
   from the amounts calculated to be owed to Settlement Group Members. “[W]hen attorney’s fees
   are negotiated separately from the payment to plaintiff(s), ‘an in depth analysis [of the
   reasonableness of the fees] is not necessary unless the unreasonableness is apparent from the face
   of the documents.” Gertz v. Coastal Reconstruction, 2014 U.S. Dist. LEXIS 130302, *5 (M.D.
   Fla. Sept. 10, 2014) (citing McGinnis v. Taylor Morrison, Inc., 2010 U.S. Dist. LEXIS 143198
   (M.D. Fla. Jan. 23, 2010); King v. My Online Neighborhood, Inc., 2007 U.S. Dist. LEXIS 16135
   (M.D. Fla. Mar. 7, 2007)) (internal bracket in original); Bonetti v. Embarq Mgmt. Co., 715 F.
   Supp. 2d 1222, 1228 (M.D. Fla. 2009) (same). “As long as counsel does not seek to recover
   anything further from Plaintiff, the recovery is not compromised by the fee agreement and the
   Court sees no reason to review it further.” Garzon v. ProSweep Cent. Fla., LLC, 2011 U.S. Dist.
   LEXIS 134703, *6 (M.D. Fla. Nov. 17, 2011). Thus, there is “no need to further scrutinize
   amount allocated for attorneys’ fees and costs [as] they were negotiated separately and apart
   from the compensation paid to Plaintiff.” Welch v. Moonlite Hospitality Servs., LLC, 2011 U.S.
   Dist. LEXIS 137145, *5, n. 2 (M.D. Fla. Nov. 28, 2011) (citations omitted). Accordingly,
   Plaintiffs’ request for attorneys’ fees, costs, and settlement administration expenses should be
   approved.
                                             CONCLUSION
   The Settlement is reasonable and fair in all respects, particularly considering that at all times this
   litigation and the associated arbitration claims were vigorously contested. Accordingly, the
   Parties respectfully request the Court approve the settlement by entering the proposed Final
   Order and Judgment which will (1) approve as fair, adequate and reasonable the global
   settlement set forth in the Agreement attached as Exhibit A; (2) approve the proposed Settlement
   Cover Letters, Notice, and agreement and release for Enhancement Award Plaintiffs attached as
   Exhibits D, E, F, and G to the Agreement and the proposed method for distribution; (3) approve
   Plaintiffs’ Counsel’s request for attorneys’ fees of $3,707,970.34 and costs in the amount of
   $461,029.66; (4) approve payment of $26,000.00 to the Settlement Claims Administrator; (5)
   approve payment of a total of $98,000.00 in Enhancement Awards to the eleven Named
   Plaintiffs and additional thirty-five Enhancement Award Plaintiffs as more fully set forth in the

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   Agreement; (6) allocate $5,000.00 of the Maximum Settlement Amount to the settlement of
   claims under PAGA as more fully set forth in the Agreement; (7) allocate $50,000.00 to a
   reserve fund; (8) dismiss the Devries, Zajonc, Johnson and Hix Lawsuits with Prejudice, with the
   Court retaining jurisdiction to enforce the settlement; (9) permanently enjoin the Named
   Plaintiffs, Enhancement Award Plaintiffs, and other Participating Members (those who negotiate
   their checks) from pursuing and/or seeking to pursue claims that have been released by the
   Agreement; and (10) grant such other and further relief as this Court deems just and proper.
   Respectfully submitted this 29 of June, 2016.

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